               THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
             CRIMINAL CASE NO. 1:20-cr-00090-MR-WCM


UNITED STATES OF AMERICA,                        )
                                                 )
                            Plaintiff,           )
                                                 )
              vs.                                )                ORDER
                                                 )
                                                 )
SIVA K. DURBESULA,                                      )
                                )
                   Defendant.   )
_______________________________ )

       THIS MATTER is before the Court on the Defendant’s Motion to

Dismiss for Speedy Trial Act Violation. [Doc. 14].

I.     BACKGROUND

       On January 28, 2020, the Defendant was indicted by a federal grand

jury in the Florence Division of the District of South Carolina for violation of

18 U.S.C. § 2244(b) and 28 U.S.C. § 2461(c). [Doc. 1-1, DSC Doc. 4].1 He

made his initial appearance in that District on March 3, 2020. [Id. at DSC

Doc. 15]. On March 16, 2020, District of South Carolina Chief Judge Harwell

issued a Standing Order continuing all criminal cases in the District of South


1 Citations to Doc. 1-1 encompass the entire record from the case appearing in the
Untied States District Court for the District of South Carolina, No. 4:20-cr-0065. Specific
citations are made to the docket number in that case.


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Carolina through May 8, 2020, due to the COVID-19 pandemic and

referencing the Center of Disease Control and Prevention’s guidelines, the

President’s declaration of a national public health emergency, and the South

Carolina Governor’s declaration of a public health emergency in the state. In

Re: Court Operations in Response to Covid-19, Standing Order, 3:20-mc-

105 (D.S.C. Mar. 16, 2020). In that Standing Order, Chief Judge Harwell

declared that:

      Due to the Court’s reduced ability to obtain an adequate
      spectrum of jurors and the above-reference public health
      considerations associated with criminal jury trials and grand jury
      proceedings, the time period of the continuances implemented
      by this Standing Order will be excluded under the Speedy Trial
      Act, 18 U.S.C. § 3161(h)(7)(A). The Court finds that the ends of
      justice served by ordering these continuances outweighs the
      best interest of the public and each defendant’s right to speedy
      indictment or trial. The Court may extend the period of exclusion
      as circumstances may warrant.

Id.

      On March 26, 2020, Chief Judge Harwell continued this specific case

until June 4, 2020, referencing the Standing Order. [Doc. 1-1, DSC Doc. 30].

Chief Judge Harwell found that the delay is “exuded in computing the time

within which trial must begin pursuant to the Speedy Trial Act, 18 U.S.C. §

3161(h)(7)(A)” and that “the ends of justice served by ordering a continuance

outweighs the best interest of the public and the defendant’s right to speedy

trial in light of the global pandemic and high risk of transmission.” [Id.] Chief
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Judge Harwell further continued the case and excluded the time in computing

for the Speedy Trial Act, to July 23, 2020, then to September 10, 2020,

referencing the reasoning in the Standing Orders and finding that the “ends

of justice served by ordering a continuance outweighs the best interest of the

public and the defendant’s right to speedy trial in light of the reduced ability

to obtain an adequate spectrum of jurors, the global pandemic and high risk

of transmission, and public health considerations.” [Id. at DSC Doc. 31, 45].

      On August 19, 2020, the Defendant filed a motion to dismiss or in the

alternative to transfer the case to the Western District of North Carolina. [Id.

at DSC Doc. 55]. On August 26, 2020, the court transferred the case to this

Court in the Western District of North Carolina pursuant to Federal Rule of

Criminal Procedure Rule 21. [Id. at DSC Doc. 66, 67]. On September 21,

2020, the Defendant made his first appearance in this Court. A grand jury in

the Western District of North Carolina returned a Second Superseding Bill of

Indictment on October 6, 2020. [Doc. 5]. The Defendant was arraigned on

October 9, 2020, with motions to continue or plea agreements set to be due

on October 16, 2020. The trial was set for the next available term in this

Court.

      On October 30, 2020, the Defendant filed a motion in limine to exclude

certain evidence of a prior sexual assault. [Doc. 10]. On November 4, 2020,


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the Defendant filed the motion to dismiss for violation of the speedy trial act.

[Doc. 14]. The trial is set to start on November 9, 2020.

II.    LEGAL STANDARD

       The Speedy Trial Act requires that, a defendant’s trial “shall commence

within seventy days from the filing date (and making pubic) of the information

or indictment, or from the date the defendant has appeared before a judicial

officer of the court in which such charge is pending, whichever date last

occurs.” 18 U.S.C. § 3161(c)(1). In calculating that time period, however,

there are certain “periods of delay” that are excluded including delays from

pretrial motions until the disposition of that motion, a “delay resulting from

any proceeding relating to the transfer of a case or the removal of any

defendant from another district under the federal rules of criminal procedure,”

and delays from transportation of the defendant from district to district. Id. §

3161(h)(1).

III.   DISCUSSION

       The language of the Speedy Trial Act specifically references the period

after the date in which the defendant “has appeared before a judicial officer

of the court in which such charge is pending.” 18 U.S.C. § 3161(c)(1)

(emphasis added). The Case has been pending in this Court since the

Defendant made his initial appearance here on September 21, 2020.


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Though the case against the Defendant was previously pending in the

District of South Carolina, that court is not this Court. The fact that the

charges against the Defendant were pending there for some time is irrelevant

to this question, as shown by the plain language of 18 U.S.C. § 3161(c)(1).

United States v. Garcia, 995 F.2d 556, 559 (5th Cir. 1993) (“[T]he first

appearance before a judicial officer of the court in which the indictment has

been filed is the triggering event.”); see United States v. Black, No. 17-

10123-EFM, 2019 WL 6052472, at *3–4 (D. Kan. Nov. 15, 2019) (finding

that the plain reading of the language “the court in which such charge is

pending” means the district the charge is currently pending in the context of

a guilty plea withdrawn in another district).

      The Defendant argues that the arraignment in the District of South

Carolina was the “triggering event” for the Speedy Trial Act, citing to United

States v. Lattany, 982 F.2d 866 (3rd Cir. 1993). [Doc. 15 at 2]. The

Government in turn cites to United States v. Lattany, for the proposition that

delays attributable to the Defendant are excluded from the Speedy Trial

clock, which is relevant because the delay in this proceeding was caused in

part by the Defendant’s filing of the motion seeking transfer. [Doc. 16 at 5].

United States v. Lattany is inapplicable to the unique circumstances of the

transference in this case. In United States v. Lattany, there were numerous


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open-ended continuances of a case that was indicted and tried in a single

district. Lattany, 982 F.2d at 870–71. The Third Circuit found that because

the numerous delays in that case were often at the request of the defendant

or with the consent of the defendant, the nature of these delays and

continuances made a six-month delay “not unreasonable as a matter of law.”

Id. at 883. The footnote in the case to which the Defendant cites merely

states that the speedy trial period does not restart “when subsequent

charges are filed in a supplemental indictment that charge the same offences

as the original indictment” but does restart if “the subsequent filing charges

a new offence that did not have to be joined with the original charges.” Id. at

873 n.7. This does not address the question of whether the Speedy Trial

Clock restarts when the case is transferred to a different district, as there

was no such transfer in that case.

      The Government cites to United States v. Dunque, 62 F.3d 1146,

1149–50 (9th Cir. 1995), to support their argument that when a case is

transferred and re-indicted in a new district at the request of defendant the

clock restarts for the purposes of the Speedy Trial Act. The Defendant

argues that this is a misreading of the statute, citing to United States v.

Eugene, No 91-cr-00512-CSH, 1993 WL 77289 (S.D.N.Y. Mar. 12, 1993).

In United States v. Dunque, the defendant was originally indicted in


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California, but the case was transferred under Federal Rule of Criminal

Procedure Rule 21 to the District of Arizona where the defendant was re-

indicted. Dunque, 62 F.3d at 1148–49. Because the California indictment

was not dismissed until several months later, the defendant argued that the

Arizona indictment should be viewed as a “superseding indictment which

retains the original Speedy Trial Act clock.” Id. at 1149. The Ninth Circuit

Court of Appeals did not conclusively answer the question, holding that as

the defendant’s rights were not violated either way, the court would not

decide whether the reindictment restarts or merely tolls the Speed Trial clock.

Id. at 1150.

      In United States v. Eugene, to which the Defendant cites, the transfer

of the case was under Rule 20, rather than Rule 21, for the purpose of a

guilty plea. United States v. Eugene, 1993 WL 77289, at *2–4. In that case

the defendant never pled guilty and there was an error in the transfer back

to the original district. Id. The court in that case found a violation of the

Speedy Trial Act in the original district but did not discuss the effect on the

transferee district. Id. Thus, once again, the case cited has no application to

the present circumstances. See, e.g., United States v. Young, 814 F.2d 392,

395 (7th Cir. 1987) (finding the Speedy Trial clock did not begin to run when




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defendant appeared in the district to which the case had been transferred

under Rule 20, because it was not the court in which charge was pending).

      In the absence of any decisions interpreting § 3161(c)(1) any

differently, a plain reading if the statute leads the Court to the conclusion that

the transfer restarts the Speedy Trial clock for the transferee district as “the

court in which such charge is pending.” Therefore, the Speedy Trial Clock

did not begin to run with regard to the pending trial until the date the

Defendant first appeared on September 21, 2020.

      The present facts bear out this interpretation of the statute and clearly

illustrate how the Defendant’s arguments are detached from the reality of the

operation of the Court. The Defendant came to this district at his instance.

Once he arrived here and made his first appearance, his case was

calendared for trial in the very next jury term for which a jury had been

summoned. The terms of this Court are scheduled based on the timing

dictated by the Speedy Trial Act. The Defendant’s case has never been

continued in this District for any reason. Nevertheless, the Defendant seems

to insist that the Court was somehow obligated to conjure up a jury pool

within an unrealistic period of time to try his case separately. The jury

selection for his trial is scheduled for November 9, 2020, a mere 48 calendar

days after his initial appearance and well within the seventy days


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contemplated by the statute.      It should be noted that all of this was

accomplished notwithstanding the fact that this case was transferred to this

Court without any notice; the Defendant’s attorney (a South Carolina Federal

Defender) could not continue representation in this District, so the Defendant

needed a new attorney; and the United States Attorney’s Office in this District

had to undertake this prosecution. The Defendant asks that we ignore these

realities.

      Even if the Court were to accept the Defendant’s argument that any

delays that occurred in this District of South Carolina are to be considered

part of the Speedy Trial Act calculation regarding his prosecution in this

District, less than seventy non-excluded days will have passed before the

commencement of the Defendant’s trial. The clock ran from March 3, 2020,

the day of the Defendant’s first appearance in South Carolina, to March 16,

2020, the date in which the Standing Order was issued (for a total of 13

days). On March 16, 2020, the clock stopped because of the Standing Order

by Chief Judge Harwell which continued all criminal cases. In Re: Court

Operations in Response to Covid-19, Standing Order, 3:20-mc-105 (D. S.C.

Mar. 16, 2020). The Defendant argues that the Standing Order is insufficient

under the Speedy Trial Act to toll the Speedy Trial clock in this case. [Doc.

17 at 2]. In support of this position, the Defendant points to a case in which


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the Supreme Court invalidated a blanket waiver of the Speedy Trial Act that

did not include fact-specific findings, Zedner v. United States, 547 U.S. 489,

492 (2006), and a Fourth Circuit case which stated “ends of justice”

continuances must include specific findings in order for the time to be

excluded from the Speedy Trial clock. United States v. Henry, 538 F.3d 400

(4th Cir. 2008). However, recent cases have recognized that blanket tolling

of the Speedy Trial Clock through standing orders does not violate the

specificity requirement in light of the COVID-19 pandemic. See United States

v. Lev, No. 173195, 2020 WL 2615477, at * 3 (D. N.J. May 22, 2020) (holding

that the specificity requirement was met in a standing order in which the

Court “made specific findings regarding the COVID-19 pandemic that apply

equally to this case and all other criminal cases in the District” and this was

“within the inherent powers of the Court to engage in emergency

management”); see also United States v. Maamah, No. TMD-20-00612,

2020 U.S. Dist. Lexis 90426, at *14 (referencing a standing order in the

exclusion of time under the Speedy Trial Act); United States v. Diaz-Nivar,

No. 20-cr-00038-JD, 2020 WL 3848200, at *3 (D.N.H. July 8, 2020) (holding

that a standing order made in light of COVID-19 was applicable to the

defendant’s case).      The Defendant’s argument once again fails to

acknowledge the realities of the COVID-19 pandemic, particularly as it


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impacted the operation of the South Carolina court. Judge Harwell made

specific findings as to how the pandemic thwarted the ability of the Court to

provide proper and adequate jurors – jurors just like the ones the Defendant

desires to have decide his case. Those findings, and the considerations that

give rise to them, were equally applicable to the Defendant’s case as to every

other jury case pending in that district at that time. Therefore, those findings,

as incorporated into the continuance orders in the Defendant’s case, are

sufficient. It is for this reason that blanket orders tolling the STA clock due

to an emergency have been upheld in the past. Furlow v. United States, 644

F.2d 764 (9th Cir. 1981) (blanket continuance following Mt. St. Helens

eruption); Untied States v. Correa, 182 F. Supp. 2d 326 (S.D.N.Y. 2001)

(blanket continuance following the 9/11 terrorist attacks). For these reasons

the Court must conclude that the Defendant’s position that the Standing

Order did not stop the clock on the Speedy Trial Act must fail.

         From August 19, 2020, to August 26, 2020,2 the clock did not run

because the Defendant’s motion for transfer was pending. 18 U.S.C. § 3161

(h)(1)(D) (stopping the clock for any delay from “any proceeding relating to

the transfer of a case or the removal of any defendant from another district

under the Federal Rules of Criminal Procedure”). From August 26, 2020, to


2   Judge Harwell’s Order had tolled the clock through September 10. [DSC Doc. 45].
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September 21, 2020, the clock did not run as the Defendant’s transfer to this

District was being effectuated. Under 18 U.S.C. § 3161(h)(1)(F), a “delay

resulting from transportation of any defendant from another district” is

excludable except that any time over ten days “shall be presumed to be

unreasonable.” That presumption, however, is overcome here. The 26 days

to transfer the Defendant was reasonable given COVID-19 conditions. The

ten day presumption is based on ordinary circumstances for those

transporting a Defendant. The pandemic, however, greatly affected the

manner of transportation, the need for the local detention facilities to account

for quarantines, and for the Court to address the Defendant in light of such

quarantines. The 26 days of transportation overcomes the presumptive

limitation of ten days and these 26 days are also excluded from the Speedy

Trial Clock.

      The clock restarted on September 21, 2020 when the Defendant first

appeared in this District. The clock then stopped again when the Defendant

filed his motion in limine on October 30, 2020 (39 days). 18 U.S.C. §

3161(h)(1)(D) (excluding delays based on pretrial motions “from the filing of

the motion through the conclusion of the hearing on” the motion). In total,

counting the time in which the Defendant’s indictment was pending in the

District of South Carolina, there were only 52 non-excludable days.


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                                   ORDER

     IT IS, THEREFORE, ORDERED, the Defendant’s Motion Dismiss for

Speedy Trial Act Violation [Doc. 14] is DENIED.

     IT IS SO ORDERED.

                          Signed: November 8, 2020




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